                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE MIDDLE DISTRICT OF TENNESSEE


IN RE:                                                          )
                                                                )
JOHNNY RAY JACKSON,                                             )        Bk. No. 19-07617-MH3-13
                                                                )        Chapter 13
                         Debtor(s).                             )        Judge Marian F. Harrison


THE DEADLINE FOR FILING A TIMELY RESPONSE IS: January 7, 2020
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: January 15, 2020 at 8:30 a.m. in Courtroom 1,
2nd Floor Customs House, 701 Broadway, Nashville, Tennessee 37203

              NOTICE OF TRUSTEE’S MOTION TO DISMISS, FOR CAUSE, FOR UNREASONABLE
                                DELAY PREJUDICIAL TO CREDITORS

                        Henry E. Hildebrand, III, Standing Trustee for Chapter 13 matters in the Middle District of
Tennessee, has asked the Court for the following relief: Trustee’s Motion to Dismiss for Cause for unreasonable delay
prejudicial to creditors.
         YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the attached motion by entering
the attached order, or if you want the court to consider your views on the motion, then on or before the response date stated
above, you or your attorney must:

1.       File with the court your response or objection explaining your position. Please note: the Bankruptcy Court for the
Middle District of Tennessee requires electronic filing. Any response or objection you wish to file must be submitted
electronically. To file electronically, you or your attorney must go to the court website and follow the instructions at:
<https://ecf.tnmb.uscourts.gov>.
         If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-5584. You may also
         visit the Bankruptcy Court in person at: 701 Broadway, 1st Floor, Nashville, TN (Monday - Friday, 8:00 A.M. - 4:00
         P.M.).

2.     Your response must state the deadline for filing responses, the date of the scheduled hearing and the motion to
which you are responding.

        If a response is filed before the deadline stated above, the hearing will be held at the time and place indicated above.
THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You may check whether a timely response
has been filed by viewing the case on the court’s website at <https://ecf.tnmb.uscourts.gov>.

        If you or your attorney does not take these steps, the court may decide that you do not oppose the relief sought in
the motion and may enter the attached order granting that relief.

Date: December 17, 2019
                                                                     /s/ Henry E. Hildebrand, III
                                                                     ______________________________
                                                                     Henry E. Hildebrand, III
                                                                     Chapter 13 Trustee
                                                                     P. O. Box 340019
                                                                     Nashville, TN 37203-0019
                                                                     615-244-1101; Fax 615-242-3241
                                                                     www.ch13nsh.com
                                                                     pleadings@ch13nsh.com




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                                         IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE MIDDLE DISTRICT OF TENNESSEE
IN RE:                                                                )
                                                                      )
JOHNNY RAY JACKSON,                                                   )        Bk. No. 19-07617-MH3-13
                                                                      )        Chapter 13
                            Debtor(s).                                )        Judge Marian F. Harrison
                           TRUSTEE’S MOTION TO DISMISS, FOR CAUSE, FOR UNREASONABLE
                                       DELAY PREJUDICIAL TO CREDITORS

                   Henry E. Hildebrand, III, Standing Trustee for Chapter 13 matters in the Middle District of Tennessee, respectfully
moves this Court to dismiss the above-styled case, for cause, for unreasonable delay by the debtor prejudicial to creditors. In support
of this motion, the Trustee would state as follows:
                  The debtor filed a voluntary petition under Chapter 13 of Title 11 U.S.C. on November 25, 2019.

                  The debtor has failed to file a Chapter 13 Plan within the time prescribed by Rule 3015, F.R.B.P.
                  The debtor has failed to file Schedules documenting the debtor’s assets and liabilities as required by Rule
1007(b)(1)(A). The debtor has failed to file Schedules documenting the debtor’s income and expenses as required by Rule 1007(b)(1)(B).
The debtor has failed to submit a Statement of Financial Affairs as required by Rule 1007(b)(1)(D). The debtor has failed to submit a
Form 22C documenting the debtor’s Current Monthly Income and Monthly Projected Disposable Income as required by Rule 1007(b)(6).

                  The debtor has failed to submit a complete Matrix of Creditors as required by Rule 1007(a)(1), thus failing to provide
names and addresses of the debtor’s creditors. By failing to provide the Creditor Matrix, creditors are prevented from receiving adequate
notice of the debtor’s filing.
                   The debtor has certified that he received a briefing from an approved non-profit credit counseling agency but has failed
to provide a Certificate documenting such briefing.

                  WHEREFORE, THE PREMISES CONSIDERED, the Trustee requests this Court dismiss the above-styled case, for
cause, for unreasonable delay by the debtor prejudicial to creditors.

                                                                      Respectfully submitted,
                                                                      /s/ Henry E. Hildebrand, III
                                                                      ______________________________
                                                                      Henry E. Hildebrand, III
                                                                      Chapter 13 Trustee
                                                                      P. O. Box 340019
                                                                      Nashville, TN 37203-0019
                                                                      615-244-1101; Fax 615-242-3241
                                                                      pleadings@ch13nsh.com

                                                     CERTIFICATE OF SERVICE

                 I, the undersigned, hereby certifies that on or before the 17th day of December, 2019, a true and correct copy of the
foregoing has been served in the following manner:
Email by Electronic Case Noticing to:

U. S. Trustee
By U. S. Postal Service, postage prepaid to:
Johnny R. Jackson, 2880 Cages Bend Road, Gallatin, TN 37066

By U. S. Postal Service, certified mail:
Johnny R. Jackson, 2880 Cages Bend Road, Gallatin, TN 37066

                                                                      /s/ Henry E. Hildebrand, III
                                                                      ______________________________
                                                                      Henry E. Hildebrand, III
                                                                      Chapter 13 Trustee



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                               FOR THE MIDDLE DISTRICT OF TENNESSEE


IN RE:                                                     )
                                                           )
JOHNNY RAY JACKSON,                                        )       Bk. No. 19-07617-MH3-13
                                                           )       Chapter 13
                       Debtor(s).                          )       Judge Marian F. Harrison

                                          ORDER DISMISSING CASE


                        It appearing to the Court, based upon the certification of the Trustee as indicated by his
electronic signature below, that the Trustee has filed a Motion to Dismiss the above-styled case, for cause and that,
pursuant to Rule 9013-1 of the Local Rules of the Bankruptcy Court for the Middle District of Tennessee, has
forwarded a copy of that application along with notice and an opportunity to be heard to the debtor and the
Assistant U. S. Trustee and that no affected party in interest has objected to or requested a hearing on the Trustee’s
application, it is

                ORDERED, the above-styled case is dismissed, for cause, for unreasonable delay by the debtor
prejudicial to creditors; it is further

               ORDERED, the Trustee is authorized to disburse from any funds on hand any unpaid filing fee,
administrative fee, unpaid adequate protection payments to secured creditors, allowed and approved administrative
claims, or unpaid Trustee commission, if any, prior to returning any funds to the debtor.

                                                                   THIS ORDER WAS SIGNED AND ENTERED
                                                                   ELECTRONICALLY AS INDICATED AT THE
                                                                   TOP OF THE FIRST PAGE.

APPROVED BY:



______________________________
Henry E. Hildebrand, III
Chapter 13 Trustee
P. O. Box 340019
Nashville, TN 37203-0019
615-244-1101; Fax 615-242-3241
www.ch13nsh.com
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